                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In re: Michael G. Dombrowski,                   )          Case No.: 16-81412-CRJ-11
SSN: xxx-xx-4413                                )
                                                )
              Debtor.                           )          CHAPTER 11

                          JOINT MOTION FOR APPROVAL OF
                           COMPROMISE AND SETTLEMENT

        COME NOW Michael G. Dombrowski, as Chapter 11 Debtor-in-Possession (“Debtor”),
and Progress Bank (“Bank”), and respectfully represent that they have reached an agreement to
settle and compromise the claims and disputes involved in the Debtor’s Chapter 11 case. As
grounds for this motion, the parties state the following:

                                        I. Background

       1.    On May 11, 2016 (the "Commencement Date"), the Debtor commenced with this
Court a voluntary case under Chapter 11 of Title 11, United States Code (the "Bankruptcy
Code").

       2.     The Debtor continues to be authorized to operate the business as Debtor-in-
possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

      3.     The Debtor is an active real estate investor with numerous real properties in
Alabama and several other states. In addition to his own properties, the Debtor is a member or
member/owner of several limited liability companies that own real properties.

       4.      On January 30, 2009, March 17, 2015, March 17, 2015, and on March 17, 2016,
the Debtor contracted with Progress Bank, for four separate loans (loan ## 2700, 6700, 6800, and
2300, respectively) totaling $2,194,000.00 (the “loans”).

        5.     As of filing its proofs of claim on September 9, 2016, the Bank asserted that the
loans’ remaining principal balance was a total of $1,435,330.90, plus forward accruing interest,
and costs (the Proofs of Claim”).

         6.     The Debtor is the sole owner and member of MCA Properties, L.L.C., an
Alabama limited liability company ("MCA"), Old Towne Homes, L.L.C., an Alabama limited
liability company ("Old Towne"), which together, along with the Debtor personally, currently
hold title to the following properties encumbered by the Bank’s purchase-money mortgages that
collateralized the loans (the “collateral”), as listed and incorporated hereto in Exhibit “A.”




Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-2
                          358 Filed
                                Filed03/22/17
                                      08/30/17 Entered
                                                   Entered03/22/17
                                                           08/30/1708:27:07
                                                                    10:42:36 Desc
                                                                              Desc
                        MainExhibit
                             Document
                                    B Page Page
                                             1 of 18 of 6
      7.      Following the commencement date, a dispute arose between the Debtor and the
Bank regarding the Debtor’s treatment of the Bank’s claim under the terms of his Plan for
Reorganization (the “dispute”).

        8.      To resolve the dispute and all other ancillary or collateral matters between these
parties, the Debtor and the Bank propose this compromise and settlement to the Court. These
parties aver that this proposed resolution is in the best interest of each party and the bankruptcy
estate as a whole.

                                  II. Jurisdiction and Notice

       9.     The parties bring this Motion for approval of compromise and settlement (this
“Motion”) pursuant to § 105 of the Bankruptcy Code and Rules 2002 and 9019 of the Federal
Rules of Bankruptcy Procedure (“Bankruptcy Rules”). This Motion is a contested matter under
Bankruptcy Rule 9014.

        10.     The Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. §
1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). To the extent that this
Court is being asked to enter a final order on any non-core matter, the parties expressly consent
to the entry of a final order.

      11.     Pursuant to Bankruptcy Rule 2002, the parties propose to serve a copy of this
Motion upon the Bankruptcy Administrator, all creditors, and all parties requesting notice.

        12.      Pursuant to Bankruptcy Rule 2002, the parties propose that the Bankruptcy Court
provide no less than 20 days’ notice by mail to all creditors of the time within which objections
to the relief requested in this Motion must be filed and of the hearing on any such objections.


                       III. Agreement for Compromise and Settlement

       13. The agreement by and between the Debtor, including where applicable Old
Towne and MCA, and the Bank to resolve all issues involved in the Chapter 11 case is as
follows:

       A.     The Bank's Proofs of Claim may be satisfied by the payment in total (the
“Settlement Claim”), as set forth below:

       i.      Loan #2300 will be modified as follows: the principal balance will be reduced to
       $18,000.00 with interest accruing at the rate of 5.0% per annum beginning on the March
       20, 2017. This note will mature on March 20, 2019. Between March 20, 2017 and March
       20, 2019, the Debtor will be obliged to make monthly interest-only payments to the Bank
       in the amount of $75.00 due on the 20th day of each month and late ten (10) calendar days
       thereafter. In addition, the remaining collateral property on loan #2300 and located at
       503/505 O’Shaughnessy Huntsville, AL 35801 will be subject to a release price of



                                                                                                 2
Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-2
                          358 Filed
                                Filed03/22/17
                                      08/30/17 Entered
                                                   Entered03/22/17
                                                           08/30/1708:27:07
                                                                    10:42:36 Desc
                                                                              Desc
                        MainExhibit
                             Document
                                    B Page Page
                                             2 of 28 of 6
      $18,000.00, as reflected in Ex. A., (the “release price”) with the Chapter 11 Bankruptcy
      Estate retaining any net proceeds in excess of the release price after the sale of the
      collateral property. This collateral property must be sold, or the remaining balance
      otherwise paid in full, on or before the maturity date set forth above.

      ii.      Loan #6700 will be modified as follows: the principal balance will be reduced to
      $225,000.00 with interest accruing at the rate of 5.0% per annum beginning on the March
      20, 2017. This note will mature on March 20, 2019. Between March 20, 2017 and March
      20, 2019, the Debtor will be obliged to make monthly interest-only payments to the Bank
      in the amount of $937.50 due on the 20th day of each month and late ten (10) calendar
      days thereafter. In addition, the remaining collateral property on loan #6700 and located
      at 405 Eustis Ave. Huntsville, AL 35801 will be subject to a release price of $225,000.00,
      as reflected in Ex. A., (the “release price”) with the Chapter 11 Bankruptcy Estate
      retaining any net proceeds in excess of the release price after the sale of the collateral
      property. This collateral property must be sold, or the remaining balance otherwise paid
      in full, on or before the maturity date set forth above.

      iii.    Loan #6800 will be modified as follows: the principal balance will be reduced to
      $70,000.00 with interest accruing at the rate of 5.0% per annum beginning on the March
      20, 2017. This note will mature on March 20, 2019. Between March 20, 2017 and March
      20, 2019, the Debtor will be obliged to make monthly interest-only payments to the Bank
      in the amount of $291.67 due on the 20th day of each month and late ten (10) calendar
      days thereafter. In addition, the remaining collateral property on loan #6800 and located
      at 1200 Highland Ave. Huntsville, AL 35801 will be subject to a release price of
      $70,000.00, as reflected in Ex. A., (the “release price”) with the Chapter 11 Bankruptcy
      Estate retaining any net proceeds in excess of the release price after the sale of the
      collateral property. This collateral property must be sold, or the remaining balance
      otherwise paid in full, on or before the maturity date set forth above.

      iv.     Loan #2700 will be modified as follows: the principal balance will be increased to
      $1,098,060.00 (the “principal balance”) to account for the principal balance reductions on
      loan ## 2300, 6700, and 6800. Interest on loan #2700 will accrue at the rate of 4.5% per
      annum beginning on the March 20, 2017. This note will mature on March 20, 2024.
      Between March 20, 2017 and March 20, 2024, the Debtor will be obliged to make
      monthly payments on a thirty-year (30) amortization schedule to the Bank, initially in the
      amount of $5,563.70, due on the 20th day of each month and late ten (10) calendar days
      thereafter. Further, the Debtor agrees to pay down and/or liquidate collateral properties to
      reduce the principal balance on this note on the schedule that follows:




                                                                                                3
Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-2
                          358 Filed
                                Filed03/22/17
                                      08/30/17 Entered
                                                   Entered03/22/17
                                                           08/30/1708:27:07
                                                                    10:42:36 Desc
                                                                              Desc
                        MainExhibit
                             Document
                                    B Page Page
                                             3 of 38 of 6
               March 20, 2018                 $941,000.00
               March 20, 2019                 $784,000.00
               March 20, 2020                 $627,000.00
               March 20, 2021                 $470,000.00
               March 20, 2022                 $313,000.00
               March 20, 2023                 $156,000.00
               March 20, 2024                 $0.00

       The remaining collateral properties on loan #6800 and reflected in Ex A. will be subject
       to the release prices in Ex. A., (the “release prices”) with the Chapter 11 Bankruptcy
       Estate retaining any net proceeds in excess of the release prices after the sale of any
       individual collateral property. Following the sale of any collateral property, the Debtor’s
       monthly payment pursuant to this loan will be reduced for all future payments to account
       for the sold property. This payment reduction will be calculated as follows: the parties
       will subtract the monthly “loan payment” listed in Ex. A for the corresponding collateral
       property sold from the current payment on this note. The Debtor’s payments will
       continue to reduce as properties are sold until either (a) the principal balance is paid in
       full; or (b) the Debtor defaults under the terms of this agreement.

       B.      The Bank will release its mortgages on the respective collateral properties
provided the release prices are achieved.

       C.     The Debtor will have the exclusive right to market and sell, subject to the Bank’s
approval of any such sale, any of the collateral properties.

        D.     With regard to any parcel of collateral property that is not sold or under contract
by the maturity dates specified in Paragraph 13(A) above, or if the principal reductions set forth
in Paragraph 13(A)(iv) are not otherwise met, Debtor and the Bank agree and stipulate that the
Automatic Stay, pursuant to 11 USC § 363 (the "Automatic Stay"), shall be lifted, or modified,
with regard to any deficiency balance in order to permit Bank to foreclose on collateral property
in accordance with state law to satisfy any such deficiency without any further Hearings, or
Order of the Court. In such event, Debtor will reasonably cooperate with the Bank if it chooses
to pursue any other remedies that the Bank may have to recover possession of the property.

       E.      Debtor will incorporate the terms of this agreement into his Plan of
Reorganization, and the Bank will support this treatment of its claim in the Debtor’s Plan and not
vote against and withdraw it pending objection to said Plan.

        F.     The Debtor will be responsible for any Bank attorney’s fees incurred following
the approval of this agreement only in the event that he defaults on this agreement or if there is a
default under the plan with regard to the treatment of the Bank's claim.

       G.     If the Bank concludes that the Debtor is in default under his plan, or concerning
the payments to the Bank, the Bank will send notice of such default to Debtor at his last known


                                                                                                  4
Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-2
                          358 Filed
                                Filed03/22/17
                                      08/30/17 Entered
                                                   Entered03/22/17
                                                           08/30/1708:27:07
                                                                    10:42:36 Desc
                                                                              Desc
                        MainExhibit
                             Document
                                    B Page Page
                                             4 of 48 of 6
residence and a copy to his bankruptcy counsel of record. Thereafter, the Debtor will have
twenty-one (21) calendar days to cure the default from the date the notice is sent.

      H.      Upon filing of this Motion, the Debtor is released from any further obligation to
make his Court ordered adequate protection payments to Bank.

        I.     For the pendency of this agreement, Debtor will maintain real estate insurance
policies covering all of the collateral properties in an amount of at least the release prices listed
in Ex. A in order to adequately protect Bank’s secured interest in the collateral properties.

        J.     Until either: (a) the Bank’s claims are paid in paid in full; or (b) the Debtor
defaults under the terms of this agreement, the Debtor will timely pay any and all future assessed
property taxes related to any of the collateral properties.

       K.      The Debtor further agrees to allow the Bank reasonable access to inspect and/or
appraise any of the collateral properties following a written request for inspection from the Bank.

                  IV. Business Justification for Compromise and Settlement

        14.   Bankruptcy Rule 9019(a) authorizes a bankruptcy court to approve compromises
and settlements. The approval or rejection of a compromise is left to the sound discretion of the
bankruptcy court, and is to be determined by the particular circumstances of each proposed
compromise. The term “sound discretion” denotes the absence of a hard-and-fast rule. When
invoked as a guide to judicial action, it means a decision giving due regard to what is right and
equitable under the particular circumstances of the case and applicable law. Langes v. Green,
282 U.S. 531, 541 (1931).

        15.    The courts have supplied the following criteria when determining the
acceptability of a proposed compromise:

               (i)     The probability of success in the litigation;
               (ii)    The complexity of the litigation involved; and
               (iii)   The expense, inconvenience, and delay necessarily attending the litigation
                       (including the possibility that denial of the settlement will cause the
                       depletion of assets).

Wallis v. Justice Oaks, II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990) and
In re Jackson Brewing Co., 624 F.2d 605, 607 (5th Cir. 1980). See also Protective Comm. for
Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414 (1968). The court is
required to decide whether the settlement falls below the lowest point in a range of
reasonableness. Anacona-Ericsson v. Hennson (In re Teletronics Services, Inc.), 762 F.2d 185,
187-89 (2d Cir. 1985) (quoting Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d
Cir. 1983), cert denied 464 U.S. 822 (1984)).

        16.    Although the parties each believe strongly in their respective claims and defenses,
each also recognizes the risks inherent in any litigation.



                                                                                                   5
Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-2
                          358 Filed
                                Filed03/22/17
                                      08/30/17 Entered
                                                   Entered03/22/17
                                                           08/30/1708:27:07
                                                                    10:42:36 Desc
                                                                              Desc
                        MainExhibit
                             Document
                                    B Page Page
                                             5 of 58 of 6
        17.     A settlement of the parties’ disputes in accordance with this Motion will result in
the resolution of these claims and minimize the Estate’s administrative costs.

       18.    The proposed compromise and settlement is consistent with the intent and the
requirements of the Bankruptcy Code.

       19.    This settlement and compromise is proposed in good faith and is the product of
arms-length negotiations that have occurred between the parties over an extended period of time.

                                         V. Conclusion

         WHEREFORE, PREMISES CONSIDERED, the parties request that the Bankruptcy
Court:

        A.     Enter a final order approving this compromise and settlement; authorizing the
parties to execute and deliver any and all other documents which may be necessary or
appropriate to effectuate the compromise and settlement described herein; and

       B.     Granting such further and different relief as the Bankruptcy Court may deem just
and appropriate.

         Respectfully submitted this the 22nd day of March, 2017.


/s/ Chad W. Ayres                                 /s/ Tazewell T. Shepard III
Chad W. Ayres                                     Tazewell T. Shepard III
Attorney for Progress Bank                        An Attorney for Debtor-in-possession

WILMER AND LEE, P.A.                              SPARKMAN, SHEPARD & MORRIS, P.C.
100 Washington Street                             P.O. Box 19045
Suite 100                                         Huntsville, AL 35804
Birmingham, AL 35203                              Tel: (256) 512-9924
Tel: (205) 458-5457                               Fax: (256) 512-9837
Fax: (205) 244-5637


                                 CERTIFICATE OF SERVICE

         This is to certify that I have this 22nd day of March, 2017 served the foregoing motion on
all parties as listed on the Clerk’s Certified Matrix and Richard Blythe, Office of the Bankruptcy
Administrator, P.O. Box 3045, Decatur, AL 35602 by electronic service through the Court’s
CM/ECF system and/or by placing a copy of same in the United States Mail, postage pre-paid.


                                                 /s/ Tazewell T. Shepard III
                                                 Tazewell T. Shepard III



                                                                                                 6
Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-2
                          358 Filed
                                Filed03/22/17
                                      08/30/17 Entered
                                                   Entered03/22/17
                                                           08/30/1708:27:07
                                                                    10:42:36 Desc
                                                                              Desc
                        MainExhibit
                             Document
                                    B Page Page
                                             6 of 68 of 6
Loan x-2700               Release Price   Loan Payment
Lot Appertenant to Home
198 Walker Ave              $98,400         $498.58
Huntsville, AL, 35801
Rental Home
4956 Seven Pine Cr          $32,800         $166.19
Huntsville, AL, 35816
Rental Home
4961 Seven Pine Cr           $32,800        $166.19
Huntsville, AL, 35816
Rental Home
4964 Seven Pine Cr           $36,900        $186.97
Huntsville, AL, 35816
Rental Home
4970 Seven Pine Cr           $36,900        $186.97
Huntsville, AL, 35816
Rental Home
4973 Seven Pine Cr           $24,600        $124.64
Huntsville, AL, 35816
Rental Home
4983 Seven Pine Cr           $32,800        $166.19
Huntsville, AL, 35816
Rental Home
4987 Seven Pine Cr           $36,900        $186.97
Huntsville, AL, 35816
Rental Home
5022 Seven Pine Cr           $32,800        $166.19
Huntsville, AL, 35816
Rental Home
5024 Seven Pine Cr           $36,080        $182.81
Huntsville, AL, 35816
Rental Home
5027 Seven Pine Cr           $23,780        $120.49
Huntsville, AL, 35816
Rental Home
5035 Seven Pine Cr           $36,080        $182.81
Huntsville, AL, 35816
Rental Home
5044 Seven Pine Cr             $0            $0.00
Huntsville, AL, 35816
Rental Home
5131 Seven Pine Cr           $23,780        $120.49
Huntsville, AL, 35816
Rental Home
6644-A Willow Pt             $36,900        $186.97
Huntsville, AL, 35816
Rental Home
161 Stone Meadow             $73,800        $373.93
Madison AL, 35758
Rental Home
102 Briargate Ln             $94,300        $477.80
Madison AL, 35758



   Case 16-81412-CRJ11           Doc 569-2
                                     358-1 Filed 08/30/17
                                                  03/22/17 Entered 08/30/17
                                                                   03/22/17 10:42:36
                                                                            08:27:07   Desc
                                        Exhibit B
                                                A Page 7 1 of 8
                                                              2
Rental Home
107 Briargate Ln          $86,100       $436.26
Madison AL, 35758
Rental Home
129 Briargate Ln           $83,640      $423.79
Madison AL, 35758
Rental Home
1126 Oster Dr              $73,800      $373.93
Huntsville, AL, 35810
Rental Home
1519 McKinley              $57,400      $290.84
Huntsville, AL, 35801
Rental Home
148 Bridletrace Ln        $107,500      $544.69
Madison AL, 35758
Totals Loan x-2700       $1,098,060     $5,563.70

Loan x-2300             Release Price   Payment
Vacant Home
503/505 Oshaghnessey      $18,000        $75.00
Huntsville, AL, 35801

Loan x-6700             Release Price   Payment
Vacant Home
405 Eustis                $225,000      $937.50
Huntsville, AL, 35801

Loan x-6800             Release Price   Payment
Vacant Home
1200 Highlands             $70,000      $291.67
Huntsville, AL, 35801

All Loans               Release Price   Payment
Totals - All Progress
                         $1,411,060      $6,868
Loans




   Case 16-81412-CRJ11         Doc 569-2
                                   358-1 Filed 08/30/17
                                                03/22/17 Entered 08/30/17
                                                                 03/22/17 10:42:36
                                                                          08:27:07   Desc
                                      Exhibit B
                                              A Page 8 2 of 8
                                                            2
